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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                        FILED
                                                             for the                                             February 20, 2025
                                                                                                               CLERK, U.S. DISTRICT COURT
                                             WESTERN District of TEXAS                                         WESTERN DISTRICT OF TEXAS

                                                                                                                           AB
                                                                                                          BY: ________________________________
                  United States of America                      )                                                                 DEPUTY
                             v.                                 )
                                                                )       Case No.                    SA:25-MJ-247
                       Anthony Ayala                            )
                                                                )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 20, 2025                           in the county of Bexar                                  in the
Western                District of Texas                    , the defendant(s) violated:
            Code Section                                                  Offense Description
18 USC § 922(g)(1)                         Felon in Possession of a Firearm.

                                           Penalties: Up to 15 Years Imprisonment; $250,000 Fine; 3 Years
                                           Supervised Release; and $100 Mandatory Special Assessment.



         This criminal complaint is based on these facts:

See attached affidavit




              Continued on the attached sheet.
                                                                        HUNTER             Digitally signed by HUNTER
                                                                                           WESTBROOK (Affiliate)
                                                                        WESTBROOK          Date: 2025.02.20 16:33:59
                                                                        (Affiliate)        -06'00'

                                                                                           Complainant’s signature

                                                                        TFO Hunter Westbrook, DEA
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date: February 20, 2025
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 Elizabeth S. Chestney, U.S. Magistrate Judge
                                                                                            Printed name and title
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AYALA, Anthony, H/M, DOB: 10-23-1979

US V AYALA, Anthony

1. I am a Police Officer with the University of Texas San Antonio Police Department where

   I have been commissioned for approximately nine years. I have been a Texas Peace officer

   since 2012 and have been assigned to the DEA, San Antonio District Office located in San

   Antonio, Texas since January 2017. I am currently assigned as a Task Force Officer to the

   DEA San Antonio District Office in San Antonio, Texas. I have participated in numerous

   narcotics investigations. I am familiar with the ways in which drug traffickers conduct

   their business, including, but not limited to, their methods of importing, concealing,

   packaging, diluting (cutting) and distributing controlled substances, their use of cellular

   telephone and short message service (SMS) / text message, and their use of code words to

   conduct their illegal activities. I know how drug traffickers collect, transport, secrete and

   launder proceeds derived from drug distribution. I am familiar with the documents

   generated through all of these illegal activities. I have executed numerous search warrants

   in my career.

2. On January 28, 2025, San Antonio Police Officers attempted a traffic stop on a black in

   color Toyota Tundra, bearing TXLPB663838, that was driven by Anthony AYALA, an

   individual under investigation for methamphetamine distribution, for a traffic violation.

   Upon initiation of the traffic stop, AYALA fled from officers in the Toyota Tundra and

   subsequently struck two parked vehicles, before successfully evading law enforcement. On

   February 18, 2025, your affiant applied for and was granted a Felony Arrest Warrant for

   Evading Arrest/Detention W/Vehicle and two (2) Misdemeanor Arrest Warrants for
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   Collision Causing Damage over $200.00, for AYALA for his involvement in the evading

   that occurred on January 28, 2025.

3. On February 20, 2025, Agents located the Toyota Tundra that AYALA previously evaded

   law enforcement in, now bearing TXLP-8729M53, and a second vehicle known to be

   utilized by AYALA, a gold in color Chevrolet Tahoe, bearing TXLP-RLH4395, to be

   parked at 4801 Gus Eckert #112, San Antonio, TX, an address known to be utilized by

   AYALA. Agents contacted management and confirmed that AYALA was a resident of the

   apartment complex, was listed on the lease agreement for apartment #112, and was known

   to management due to multiple issues that have occurred between AYALA and

   management. Based on the confirmed lease agreement listing the 4801 Gus Eckert #112,

   San Antonio, TX as AYALA’s residence, the two vehicles known to be utilized by

   AYALA being at the address, and statements that management of the complex knew

   AYALA, Agents contacted the United States Marshals Service Fugitive Taskforce for

   assistance.

4. On February 20, 2025, at approximately 11:15 am, the USMS Fugitive Task Force

   executed the three (3) active arrest warrants for AYALA at 4801 Gus Eckert #112 San

   Antonio, TX and took AYALA into custody without incident. During the execution of the

   arrest warrant, AYALA was located on the couch inside the living room. AYALA was

   found to be the only person within in the residence at the time of his arrest. While executing

   the arrest warrant, USMS Deputies observed a Glock handgun to be sitting in plain view

   on the couch, the same couch where AYALA was located at the time of his arrest.

5. Your affiant knows AYALA is a convicted felon with the following State of Texas

   Convictions: Deadly Conduct Discharge Firearm Individuals on March 31, 2011, in Bexar
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   County, TX, and Burglary of a Habitation on March 31, 2011, in Bexar County, TX. Your

   Affiant is also aware that AYALA is on Texas Parole for a prior felony conviction until

   March of 2025, meaning AYALA is also aware he is a convicted felon. Since AYALA is

   a convicted felon, your Affiant applied for and was granted a State of Texas search warrant,

   2025W00777, for 4801 Gus Eckert #112, San Antonio, TX, so that the firearm that was

   observed in plain view could be recovered. The State of Texas search warrant also include

   the two vehicles that belong to AYALA, the gold Tahoe and black Tundra.

6. Upon authorization of the search warrant, Agents entered the residence and began

   searching. During the search Agents recovered a Glock 43X, bearing serial number

   BZWV490, from the couch that AYALA was encountered on, which was originally

   observed in plain view. Agents also located a black zipper bag in front of the couch that

   AYALA was encountered on that contained the following: Smith & Wesson Bodyguard

   380 with an obliterated serial number, a Palmetto Arms Ar15 short barrel rifle with serial

   number SCD308966, and a Springfield Arms XD handgun bearing serial number

   XD559672. Agents located in the bedroom closet in a shoe box a Glock 23 that was

   modified with a “Glock Switch,” bearing serial number ALL471. Agents located a Marlin

   22 rifle with serial number unknown on the back porch of the residence. Agents also

   recovered various items of drug paraphernalia throughout the residence, a black backpack

   that was in front of the couch next to the bag that contained the firearms that contained

   approximately six (6) ounces of methamphetamine, and a small twist top bag in a kitchen

   drawer that contained fraudulent M30 pills that are believed to contain fentanyl.

7. During the search of the Tahoe Agents recovered a Smith & Wesson AR15 bearing serial

   number TL03377, which is reported stolen out of Kerr County, TX, and various items that
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   are suspected of being stolen property. Agents also found an ID card that contained

   AYALA’s name inside the Tahoe and mechanic receipts with AYALA’s name.

8. During the search of the Tundra, Agents located a Cricket 22 rifle with no firing pin in the

   toolbox of the truck, and a small bag containing approximately three (3) grams of

   methamphetamine in the center console of the Tundra.

9. Agents seized all items located as evidence. Your affiant is aware that AYALA is

   prohibited from owning or possessing firearms due to him being a felon. Additionally, all

   firearms recovered from AYALA’s residence are manufactured outside the State of Texas.

10. Your affiant attempted to conduct a Post Miranda Interview of AYALA. During this

   interview AYALA admitted to distributing small amounts of narcotics but claimed

   ignorance of all firearms that were located, to include the one that was on the couch, that

   was in plain view upon entry to the residence. AYALA did state that he resided at the

   residence, but he slept on the couch, the same couch where the Glock 43x was located and

   the same couch that was directly next to the bag containing the multiple firearms and the

   bag containing the methamphetamine. AYALA was booked into the Bexar County Jail

   without incident for his three active arrest warrants.
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Based on the above, there is probable cause that ANTHONY AYALA committed the crime of

Felon in Possession of a Firearm, in violation of 18 U.S.C. § 922(g)(1).




                                                     HUNTER       Digitally signed by HUNTER
                                                                  WESTBROOK (Affiliate)
                                                     WESTBROOK    Date: 2025.02.20 16:34:29
                                                     _______________________________
                                                     (Affiliate)  -06'00'

                                                     Hunter Westbrook, Task Force Officer
                                                     Drug Enforcement Administration


                                           February 20
Subscribed and sworn to telephonically on __________________, 2025




                                                     _______________________________
                                                     Elizabeth S. Chestney
                                                     United States Magistrate Judge
